     Case 3:17-cv-00903-JAH-BGS Document 43 Filed 05/31/22 PageID.768 Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    JIMMY MACIAS GO,                                  Case No.: 3:17-cv-903-JAH-BGS
12                                     Plaintiff,
                                                        ORDER REMANDING CASE AND
13    v.                                                JUDGMENT
14    DR. KILOLO KIJAKAZI, Acting
      Commissioner of Social Security,
15
                                     Defendant.
16
17         Pursuant to the Ninth Circuit’s Order and Mandate, (ECF Nos. 41, 42), this matter
18   is remanded for further administrative proceedings pursuant to sentence four of 42 U.S.C.
19   § 405(g).
20         IT IS SO ORDERED.
21   DATED: May 31, 2022
22
23                                                  _________________________________
                                                    JOHN A. HOUSTON
24                                                  UNITED STATES DISTRICT JUDGE
25
26
27
28

                                                    1
                                                                             3:17-cv-903-JAH-BGS
